
PER CURIAM.
We have carefully examined the record on appeal and the briefs filed by able counsel. Although the evidence giving rise to entry of the judgment and sentence here appealed was in conflict those conflicts were resolved by the trier of the fact for whose judgment we may not substitute ours. We find no error of law as applied to those facts. Further, the briefs and oral arguments of the parties reveal that each point here presented has been heretofore determined by decisions of this Court and of the Supreme Court of Florida. Nothing would be added to the jurisprudence of this State by again discussing those points here.
Appellant having failed to demonstrate prejudicial error, the judgment and sentence appealed are
Affirmed.
BOYER, Acting C. J., and McCORD and MILLS, JJ., concur.
